              Case 2:20-cr-00055-MLCF-KWR Document 51-2 Filed 09/01/20 Page 1 of 1
                                                           D111716000466



AO   110   Rev 06 09      Subpoena      to    Testify   Belbre   a   Grand   Jury




                                                        UNITED STATEs DiSTRICT COURT                                                                                                                 Fedlex

                                                                                                  for the


                                                                                                                                                                   lvl 11
                                                                                Eastern     District     of Louisiana




                                                        SUBPOENATO                     TESTIFY         BEFORE A GRAND JURY

           Bank of America
To         Attn Legal Order Processing

           800 Samoset Drive

           Newark DE 19713


             YOU ARE CONIMANDED                                      to   appear      in this   United    States   district    court    at   the   time date and place shown

below      to testify     before        the    court's      grand         jury When you           arrive     you must remain            at   the   court   until    the     judge   or   a   court

Officer     allows      You    to   leave




Place        United       States      Federal           Grand Jury                                                   Date     and    Time
             Hale       Boggs Federal Building                                                                       Thursday          December        1 2016        at   9 00   am
             500       Poydras Street             2nd Floor
             New        Orleans         Louisiana         70130




             You must          also     bring with         you       the     following     documents         electronically         stored    information           or   objects    h1unk       1101




SEE     SUBPOENA ATTACHMENT

NOTE              In   lieu    of appearing bet ore the Grand Jury                                 this   subpoena       can    be     satisfied


by delivering           tile
                               requested            records           prior     to    Thursday December                1 2016 to


Special      Agent Cary McCormick
901        Leon        C Simon          Blvd
New        Orleans       LA         70126

504        228-1854
                                                                                                                                                           levins
CaryMcCormick0q ic t bigov


Date                   11 162016




The name address                 c-niail        and      telephone           number of      the   United    States   attorney        or assistant      United        States    attorney        who
             this                       are
requests               subpoena

 Chandra Menon
 Assistant        United       States    Attorney

 United      States     Attorney's Office Eastern                          District    of Louisiana

 650 Poydras Street Suite                      1600       New        Orleans Louisiana             70130

 Telephone             504-680-3085 E-Mail                           ChandraMenon usdqj gov




                                                                                                                                                                                             EXHIBIT
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